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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                  Chapter 11
    In re:
                                                                  Case No. 23-11069 (CTG)
                                             1
    YELLOW CORPORATION, et al.,
                                                                  (Jointly Administered)
                    Debtors.
                                                                (Obj. Deadline Extended with Consent)


                                                                  Re: D.I. 1329

               JOINDER TO OBJECTIONS TO THE MOTION OF DEBTORS TO
                   ESTABLISH ALTERNATIVE DISPUTE RESOLUTION
                     PROCEDURES FOR RESOLUTION OF CERTAIN
                    LITIGATION CLAIMS AND FOR RELATED RELIEF

         Donna Lee Daugherty, individually and as administratrix of the Estate of Norman Eugene

Daugherty (“Objector”), by and through her undersigned counsel, submits this joinder to the

objections already filed and to be filed (together, the “Objections”) to the Motion of Debtors to

Establish Alternative Dispute Resolution Procedures for Resolution of Certain Litigation Claims

and for Related Relief Filed by Yellow Corporation. [D.I. 1329] (the “Motion to Establish ADR”)

filed by the above-captioned Debtors. In support hereof, Objector respectfully states as follows:

                                                 BACKGROUND

         1.      On December 11, 2023, Debtors filed the Motion to Establish ADR. See D.I. 1329.

         2.      On December 26, 2023, multiple Objections and joinders to the Objections were

filed on docket. See D.I. 1486, 1487, 1489 & 1490.




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 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.

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         3.     Additional objections and joinders are expected to be filed by other similarly

situated personal injury plaintiffs.

                                            JOINDER

         4.     Objector hereby joins in and incorporates as its own the legal and factual arguments

made in the Objections.

         5.     Objector reserves the right to supplement or amend this Joinder, or raise additional

objections. Objector further reserves the right to participate in any hearing on the Objections,

including to present argument and examine witnesses.

                                              Respectfully Submitted,

Dated: December 27, 2023
       Wilmington, Delaware                   THE ROSNER LAW GROUP LLC

                                              /s/ Frederick B. Rosner
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